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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as the personal                              CASE NO.: 9:18-cv-80176-BB/BR
  representative of the Estate of David
  Kleiman, and W&K Info Defense
  Research, LLC

            Plaintiffs,

  v.

  CRAIG WRIGHT

            Defendant.

        DR. CRAIG WRIGHT’S MOTION TO ALLOW ELECTRONIC EQUIPMENT IN
                      THE COURTROOM FOR USE AT TRIAL


              In connection with the anticipated trial, beginning November 1, 2021 through the

       end of trial, Dr. Wright respectfully requests entry of an Order permitting the following

       expert witnesses to bring in the following electronic devices and equipment:

                                        Electronic Device List:

       Name                  Equipment                        Make           Model

       Ami Klin              Laptop                           Apple          MacBook Pro
       Expert witness        Cellular Phone                   Apple          iPhone 11 Pro
       David White           Cellular Phone                   Apple          iPhone 12
       Expert Witness
       Kevin Madura          Cellular Phone                   Apple          iPhone 8
       Expert Witness
       Nicholas Chamber      Cellular Phone                   Apple          iPhone XR
       Expert Witness
       Willaim Eggington     Laptop                           Dell           Latitude 7410
       Expert Witness        Cellular Phone                   Samsung        Galaxy S20 5G
       William Choi          Cellular Phone                   Apple          iPhone 11
       Expert Witness
       William Nicholson     Cellular Phone                   Apple          iPhone X
       Expert Witness
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        Permitting the use of the electronic equipment will assist Dr. Wright with day-to-day

 trial logistics and will help streamline the case presentation. Accordingly, Dr. Wright

 respectfully requests the Court to permit its use in the courtroom from November 1, 2021

 through the end of trial.



Date: October 25, 2021                              Respectfully submitted,

                                                     By: s/ Andres Rivero
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                                                     Counsel for Dr. Craig S. Wright


                                 CERTIFICATE OF SERVICE
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        I CERTIFY that on October 25, 2021, I electronically filed this document with the Clerk of
 the Court using CM/ECF. I also certify that the foregoing document is being served this day on all
 counsel of record via transmission of Notices of Electronic Filing generated by CM/ECF.

                                                  /s/ Andres Rivero
